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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                  Case No. 4:11-cr-40037
                                    Case No. 4:14-cv-4155

GREGORY LEWIS                                                                     DEFENDANT

                                            ORDER

       Before the Court is the Report and Recommendation filed by Barry A. Bryant, United States

Magistrate Judge for the Western District of Arkansas. (ECF No. 1672). On March 8, 2016, after

the time for objections had passed, the Court adopted the Report and Recommendation in toto. (ECF

No. 1673). Lewis then filed a Motion for Extension of Time to File Objections. (ECF No. 1674).

The Court granted the Motion (ECF No. 1675), and Lewis filed his objections (ECF No. 1679).

       While Plaintiff has filed objections to the Report and Recommendation, the objections are

not directly responsive to the Report and Recommendation and raise no specific objections for the

Court to consider. Accordingly, the Court overrules Plaintiff’s objections. For the reasons stated

herein, as well as those contained in the Report and Recommendation, the Court’s Order adopting

the Report and Recommendation (ECF No. 1673) remains unchanged.

       IT IS SO ORDERED, this 29th day of June, 2016.

                                                            /s/ Susan O. Hickey
                                                            Susan O. Hickey
                                                            United States District Judge
